                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                             CIVIL ACTION NO.: 5:17-CV-259-BO

VOIT TECHNOLOGIES, LLC,                           )
                                                  )
                       Plaintiff,                 )
                                                  )
                       v.                         )              NOTICE OF SETTLEMENT
                                                  )
DEL-TON, INC.,                                    )
                       Defendant.                 )



               COMES NOW the Defendant Del-Ton, Inc., by and through its undersigned

counsel, and respectfully informs the Court that the parties have reached a settlement agreement

in the above-captioned matter. The settlement document has been finalized and executed. As a

result of the settlement, all outstanding issues have been resolved in this matter.



               This the 17th day of October, 2019.



                                              /s/ Joseph A. Schouten
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 17, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the

following:

                Peter J. Corcoran, III, Esq.
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